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 8   KRISTINA KIRBY

 9
                                UNITED STATES DISTRICT COURT
10
           NORTHERN DISTRICT OF CALIFORNIA (SAN FRANCISCO DIVISION)
11

12   DAVISON DESIGN & DEVELOPMENT               ) Case No.     3:11-cv-02970 (EDL)
     INC., et al,                               )              (consolidated with
13                                              )              3:11-cv-05107 (EDL))
                  Plaintiffs,                   )
14                                              ) KIRBY’S COUNTER-CLAIMS
            vs.                                 )
15                                              ) 1. RESTRICTIONS ON UNSOLICITED
     CATHY RILEY [erroneously sued as           )    COMMERCIAL E-MAIL (Cal. Bus. &
16   Catherine Riley],                          )    Prof. Code § 17529.5)
                                                )
17                Defendant.                    ) DEMAND FOR JURY TRIAL (N.D. Cal.
                                                ) Rule 3-6(a))
18   CATHY RILEY,                               )
                                                )
19                Counter-Claimant,             )
                                                )
20          vs.                                 )
                                                )
21   SPIRE VISION HOLDINGS INC. et al,          )
                                                )
22                Counter-Defendants            )
                                                )
23

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                                                1
                                      KIRBY’S COUNTER-CLAIMS
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 1   XL MARKETING CORP. et al.,               )
                                              )
 2                    Plaintiffs,             )
                                              )
 3            vs.                             )
                                              )
 4   KRISTINA KIRBY,                          )
                                              )
 5                    Defendant.              )
                                              )
 6   KRISTINA KIRBY, an individual,           )
                                              )
 7                    Counter-Claimant,       )
                                              )
 8            vs.                             )
                                              )
 9   XL MARKETING CORP., a Delaware           )
     corporation,                             )
10   SPIRE VISION HOLDINGS INC., a            )
     Delaware corporation,                    )
11   SPIRE VISION LLC, a Delaware limited     )
     liability company,                       )
12   CAIVIS ACQUISITION CORP. II, a           )
     Delaware corporation,                    )
13   CAIVIS ACQUISITION CORP. III, a          )
     Delaware corporation,                    )
14   PROADVERTISERS LLC, a Delaware           )
     limited liability company,               )
15   PRIME ADVERTISERS LLC, a Nevada          )
     limited liability company,               )
16   MEDIACTIVATE LLC, a Nevada limited       )
     liability company,                       )
17   SERVE CLICKS LLC, a Nevada limited       )
     liability company,                       )
18   SILVERINTERACTIVE, a business entity of )
     unknown organization,                    )
19   OPPORTUNITYCENTRAL, a business entity )
     of unknown organization,                 )
20   DIGITAL PUBLISHING CORP., a business )
     entity of unknown organization,          )
21   WARD MEDIA INC., a Delaware              )
     corporation,                             )
22   ON DEMAND RESEARCH LLC, a Delaware )
     limited liability company,               )
23   CONSUMER INJURY ADVOCATES, a             )
     business entity of unknown organization, )
24
                                              2
                                  KIRBY’S COUNTER-CLAIMS
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 1   DAVISON DESIGN & DEVELOPMENT                )
     INC., a Pennsylvania corporation,           )
 2   THE GREAT AMERICAN PHOTO                    )
     CONTEST LLC, a New Jersey limited liability )
 3   company,                                    )
     WHAT IF HOLDINGS LLC, a New Jersey          )
 4   limited liability company,                  )
     KEYWEBJOBS, a business entity of unknown )
 5   organization, and                           )
     DOES 1-100,                                 )
 6                                               )
             Counter-Defendants.                 )
 7

 8                                         I. INTRODUCTION

 9   1.     Counter-Claimant Kristina Kirby (“Kirby”) brings these Counter-Claims against Counter-

10   Defendants for sending and advertising in 16 false and misleading Unsolicited Commercial

11   Emails (“UCEs” or “spams”) in 2011 that violated Cal. Business & Professions Code § 17529.5.

12   Kirby seeks statutory damages of $1,000 per email, and attorneys’ fees and costs.

13

14                                             II. PARTIES

15   A. Counter-Claimant Kristina Kirby

16   2.     Kristina Kirby (“Kirby”) is an individual and was, at all relevant times, a resident of the

17   State of California, within the Northern District. Kirby is not an Internet Service Provider

18   (“ISP”). Kirby’s email address at which she received the spams at issue in this Counter-Claim is

19   a “California email address.” See Cal. Bus. & Prof. Code § 17529.1(b)(2) and (3).

20   B. Spire Vision Counter-Defendants

21   3.     Kirby is informed and believes and thereon alleges that XL Marketing Corp. is currently,

22   and was at all times relevant herein, a Delaware corporation headquartered in New York, New

23   York. Kirby is informed and believes and thereon alleges that XL Marketing Corp. wholly owns

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                                        KIRBY’S COUNTER-CLAIMS
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 1   a range of subsidiaries, each focused on a particular area of internet marketing, and its activities

 2   include sending and advertising in unlawful spams.

 3   4.     Kirby is informed and believes and thereon alleges that Spire Vision Holdings Inc. is

 4   currently, and was at all relevant times, a Delaware corporation headquartered in New York,

 5   New York. Kirby is informed and believes and thereon alleges that Spire Vision Holdings Inc. is

 6   a wholly-owned subsidiary of XL Marketing Corp., and its activities include sending and

 7   advertising in unlawful spams.

 8   5.     Kirby is informed and believes and thereon alleges that Spire Vision LLC is currently,

 9   and was at all relevant times, a Delaware limited liability company headquartered in New York,

10   New York. Kirby is informed and believes and thereon alleges that Spire Vision is somehow

11   affiliated with XL Marketing Corp. and/or Spire Vision Holdings Inc., and its activities include

12   sending and advertising in unlawful spams.

13   6.     Kirby is informed and believes and thereon alleges that Caivis Acquisition Corp. II is

14   currently, and was at all times relevant herein, a Delaware corporation headquartered in

15   Washington, District of Columbia. Kirby is informed and believes and thereon alleges that

16   Caivis Acquisition Corp. II is somehow affiliated with XL Marketing Corp. and/or Spire Vision

17   Holdings Inc., and its activities include sending and advertising in unlawful spams.

18   7.     Kirby is informed and believes and thereon alleges that Caivis Acquisition Corp. III is

19   currently, and was at all times relevant herein, a Delaware corporation headquartered in

20   Washington, District of Columbia. Kirby is informed and believe and thereon allege that Caivis

21   Acquisition Corp. III is somehow affiliated with XL Marketing Corp. and/or Spire Vision

22   Holdings Inc., and its activities include sending and advertising in unlawful spams.

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 1   8.     Kirby is informed and believes and thereon alleges that ProAdvertisers LLC is currently,

 2   and was at all relevant times, a Delaware limited liability company headquartered in Bear,

 3   Delaware. Kirby is informed and believes and thereon allege that ProAdvertisers LLC is a

 4   wholly-owned subsidiary of Spire Vision Holdings Inc., and its activities include sending and

 5   advertising in unlawful spams.

 6   9.     Kirby is informed and believes and thereon alleges that Prime Advertisers LLC is

 7   currently, and was at all relevant times, a Nevada limited liability company headquartered in

 8   Reno, Nevada. Kirby is informed and believes and thereon alleges that Prime Advertisers LLC

 9   is a wholly-owned subsidiary of Spire Vision Holdings Inc., and its activities include sending

10   and advertising in unlawful spams.

11   10.    Kirby is informed and believes and thereon alleges that MediActivate LLC is currently,

12   and was at all relevant times, a Nevada limited liability company headquartered in Las Vegas,

13   Nevada. Kirby is informed and believes and thereon alleges that MediActivate LLC is a wholly-

14   owned subsidiary of Spire Vision Holdings Inc., and its activities include sending and

15   advertising in unlawful spams.

16   11.    Kirby is informed and believes and thereon alleges that Serve Clicks LLC is currently,

17   and was at all relevant times, a Nevada limited liability company headquartered in Las Vegas,

18   Nevada and claiming its address to be a box at a branch of The UPS Store in Reno, Nevada.

19   Kirby is informed and believes and thereon alleges that Serve Clicks LLC is somehow affiliated

20   with XL Marketing Corp. and/or Spire Vision Holdings Inc., and its activities include sending

21   and advertising in unlawful spams.

22   12.    Kirby is informed and believes and thereon alleges that SilverInteractive is, and was at all

23   relevant times, a business entity of unknown organization, claiming its address to be a box at a

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                                       KIRBY’S COUNTER-CLAIMS
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 1   branch of The UPS Store in Milford, Connecticut. Kirby is informed and believes and thereon

 2   alleges that notwithstanding Counter-Defendants’ claims that SilverInteractive is a Delaware

 3   Series Limited Liability Company, neither the Delaware nor Connecticut Secretary of State

 4   websites have any such entity on file. Kirby is informed and believes and thereon alleges that

 5   none of the Spire Vision Counter-Defendants have a physical presence in Connecticut. Kirby is

 6   informed and believes and thereon allege that SilverInteractive is a subsidiary or division or

 7   brand of XL Marketing Corp. and/or its subsidiaries, and its activities include sending and

 8   advertising in unlawful spams.

 9   13.    Kirby is informed and believes and thereon alleges that OpportunityCentral is, and was at

10   all relevant times, a business entity of unknown organization, claiming its address to be a box at

11   a branch of The UPS Store in Rockledge, Florida. Kirby is informed and believes and thereon

12   alleges that notwithstanding claims on the MonthlyUpdates.net and Opportunity-Central.net

13   websites that OpportunityCentral is a limited liability company, neither the Delaware nor Florida

14   Secretary of State websites have any such entity on file. Kirby is informed and believes and

15   thereon alleges that none of the Spire Vision Counter-Defendants have a physical presence in

16   Florida. Kirby is informed and believes and thereon allege that OpportunityCentral is a

17   subsidiary or division or brand of XL Marketing Corp. and/or its subsidiaries, and its activities

18   include sending and advertising in unlawful spams.

19   14.    Kirby is informed and believes and thereon alleges that Digital Publishing Corporation

20   was once a Delaware corporation with a primary place of business in Washington D.C., but

21   Kirby is informed and believes and thereon alleges that, according to the Washington D.C.

22   Department of Consumer and Regulatory Affairs’ website, Digital Publishing Corporation’s

23   corporate status was revoked at some point prior to August 2011, when Kirby received the spams

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                                        KIRBY’S COUNTER-CLAIMS
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 1   advertising Digital Publishing Corporation, and its corporate status was still revoked in March

 2   2012, when Digital Publishing Corporation (among others) filed the Corrected FAC against

 3   Kirby. Kirby is informed and believes and thereon alleges that Digital Publishing Corp. is a

 4   subsidiary of XL Marketing Corp., operates the FindAccountingPrograms.com and

 5   FindMBAPrograms.com websites, and its activities include sending and advertising in unlawful

 6   spams.

 7   15.      Kirby is informed and believes and thereon alleges that Ward Media Inc. is, and was at

 8   all relevant times, a Delaware corporation with a primary place of business in New York, New

 9   York. Kirby is informed and believes and thereon alleges that Ward Media Inc. is a subsidiary

10   of Spire Vision Holdings Inc., operates the ElementaryTeaching.org website, and its activities

11   include sending and advertising in unlawful spams.

12   16.      Kirby is informed and believes and thereon allege that On Demand Research LLC is, and

13   was at all relevant times, a Delaware limited liability company with a primary place of business

14   in New York, New York. Kirby is informed and believes and thereon alleges that On Demand

15   Research LLC is a wholly-owned subsidiary of XL Marketing Corp., operates the

16   OnDemandResearch.com website, and its activities include sending and advertising in unlawful

17   spams.

18   17.      Kirby hereafter refers to XL Marketing Corp., Spire Vision Holdings Inc., Spire Vision

19   LLC, Caivis Acquisition Corp. II, Caivis Acquisition Corp. III, ProAdvertisers LLC, Prime

20   Advertisers LLC, MediActivate LLC, Serve Clicks LLC, SilverInteractive, OpportunityCentral,

21   Digital Publishing Corp., Ward Media Inc., and On Demand Research LLC collectively as

22   “Spire Vision.”

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                                        KIRBY’S COUNTER-CLAIMS
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 1   C. Other Counter-Defendants

 2   18.    Kirby is informed and believes and thereon alleges that Consumer Injury Advocates is a

 3   business entity of unknown organization claiming an address in San Diego, California, and

 4   operated the ConsumerInjuryAlert.com website as of August 2011 when Kirby received the spam

 5   at issue. As of the filing of this Counter-Claim, the website ConsumerInjury Alert.com no longer

 6   exists, but the ConsumerInjuryAdvocates.com website has similar content and purpose, the

 7   Disclaimer webpage references the same San Diego address, and the home page identifies

 8   “Consumer Injury Alert” in the mission statement and copyright notice. Kirby is informed and

 9   believes and thereon alleges that helping injured consumers find attorneys to help them was not

10   the real purpose of ConsumerInjuryAlert.com (or ConsumerInjuryAdvocates.com). Although the

11   home page on both websites nobly states that “Our mission at Consumer Injury Alert is to

12   connect each of our visitors with the most effective ethical representation possible, and to

13   preserve and promote the civil justice system,” Kirby is informed and believes and thereon

14   alleges that this is a false claim. On or about March 21, 2012 – three weeks before Kirby filed

15   this Answer – Kirby’s attorney Daniel Balsam submitted a request (as a consumer) to

16   ConsumerInjuryAdvocates.com to help him with an asbestos claim, and Balsam never received a

17   response. Also, Kirby’s attorney Timothy Walton submitted a request (as an attorney) to

18   ConsumerInjuryAdvocates.com to connect him with clients who requested help with asbestos

19   claims, and Walton similarly never received a response. Kirby is informed and believes and

20   thereon alleges that if Consumer Injury Advocates’ real mission were to connect injured

21   consumers with attorneys, Balsam and/or Walton would have received some kind of response

22   after submitting requests. The true purpose of the websites appears to be collecting consumers’

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 1   personal information, such as email addresses, to sell to advertisers. Indeed, the Privacy Policy

 2   page on the ConsumerInjuryAlert.com website stated (when the website was live) that

 3                  The personally identifiable information that Users voluntarily provide to
                    Consumer Injury Alert may be used . . . to present You with promotions,
 4                  advertisement, and opportunities which may be of interest to You via direct mail,
                    email, phone, text, or sms. . . . and/for [sic] marketing and business purposes.
 5
     The Disclaimer page on the ConsumerInjuryAlert.com website similarly stated that
 6
                    You agree that by voluntarily providing us with Your personal information, You
 7                  are [] requesting that Consumer Injury Alert distribute your information to its
                    Affiliates, and You expressly consent and request to be contacted by Consumer
 8                  Injury Alert, its employees, representatives, agents, Affiliates, and third party
                    contracted vendors with promotions and offers, even if the entered telephone
 9                  number is currently on a federal, state, or wireless Do Not Call list.

10   19.    Kirby is informed and believes and thereon alleges that Davison Design & Development

11   Inc. (“Davison”) is, and was at all relevant times, a Pennsylvania corporation with a primary

12   place of business in Pittsburgh, Pennsylvania, and operates the Davison.com website. Davison

13   advertises that it can develop inventions, but Kirby is informed and believes and thereon alleges

14   that it has no demonstrated ability to do so, or at least, no ability to do so successfully. The

15   Federal Trade Commission sued Davison & Associates Inc. (Davison’s predecessor company)

16   and its principals for fraudulent business practices related to invention development. Davison

17   admits on its website, on a page titled “Affirmative Disclosure Statement” that can only be

18   reached via a small, light-blue-on-dark-blue link at the bottom of the homepage, that only 14 of

19   48,871 clients in the five years ending January 19, 2011, and 14 of 54,191 clients in the five

20   years ending December 23, 2011, realized a net profit from Davison’s work. Thus, Kirby is

21   informed and believes and thereon alleges that historically, 99.97% of would-be inventors lost

22   money working with Davison, and every new inventor-client in 2011, when Davison advertised

23   in the emails at issue, lost money working with Davison. Davison also discloses that only

24   0.001% of its income came from royalties on licenses of consumers’ products, which means that
                                                       9
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 1   99.999% of Davison’s income comes from up-front flat fees paid by would-be inventors. Kirby

 2   is informed and believes and thereon alleges that every “Davison licensing deal” has a royalty

 3   component, and since just 0.001% of its income comes from royalties, Davison’s disclosures

 4   indicate that it has no demonstrated ability to actually successfully develop products and bring

 5   them to market successfully. Moreover, Davison admits, in the fine print in its spams and on its

 6   website, that it “does not perform analysis of the potential feasibility, marketability, patentability

 7   or profitability of ideas submitted to it.” Kirby is informed and believes and thereon alleges that

 8   these are essential elements of new product development, so Davison does not do new product

 9   development.

10                  Product Development definition: “The overall process of strategy, organization,
                    concept generation, product and marketing plan creation and evaluation, and
11                  commercialization of a new product.”

12   Entrepreneur, http://www.entrepreneur.com/encyclopedia/term/82414.html (last visited Dec. 29,

13   2011). See also Glen L. Urban & John R. Hauser, DESIGN AND MARKETING OF NEW PRODUCTS

14   (Prentice Hall 1993).

15                  “The text begins with a discussion of innovation strategy and is the [sic] followed
                    by five sections each representing a major phase in the new-product-development
16                  process: 1) Opportunity Identification, 2) Designing New Products, 3) Testing
                    Products, 4) Introduction and 5) Managing the Life Cycle.” (p. xxvi-xxvii)
17
                    [Within step 1:] “After an organization has adopted a proactive approach to new-
18                  product development, the first step in implementing it is to identify areas of
                    opportunity. This effort is divided into two steps. In the first step, markets and
19                  their associated technologies are defined and opportunities within them are
                    assessed.” (p. 78)
20
                    [Within step 2:] “It is important to remember that in developing new products,
21                  market research is conducted to support decision making and to create knowledge,
                    intelligence, and wisdom.” (p. 179)
22
     In short, Davison boldly advertises that it can develop new products, and then disclaims it in the
23
     fine print. The Ninth Circuit recently held that even truthful fine print cannot correct misleading
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                                         KIRBY’S COUNTER-CLAIMS
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 1   prominent initial representations. Williams v. Gerber Products Co., 552 F.3d. 934 (9th Cir.

 2   2008).

 3   20.      Kirby is informed and believes and thereon alleges that The Great American Photo

 4   Contest LLC is, and was at all relevant times, a New Jersey limited liability company with a

 5   primary place of business in Tenafly, New Jersey, and operates the GreatAmericanPhoto

 6   Contests.com website. The terms and conditions page on the website references Great American

 7   Photo Contest LLC.

 8   21.      Kirby is informed and believes and thereon alleges that What If Holdings LLC is, and

 9   was at all relevant times, a New Jersey limited liability company with a primary place of

10   business in Tenafly, New Jersey, and operates the GreatAmericanPhotoContests.com website. A

11   Whois query for the domain name identifies What If Holdings LLC as the registrant.

12   22.      Kirby is informed and believes and thereon alleges that KeyWebJobs is, and was at all

13   relevant times, a business entity of unknown organization with a primary place of business in

14   Trinity, Florida or New York, New York, and operates the KeyWebJobs.com website. When

15   Kirby received the spams at issue in August 2011, the KeyWebJobs.com website identified

16   “Performance Inc.” at 333 Park Avenue South #1237, New York, NY 10010. By December

17   2011, the website had changed to “ADX, Inc.” at 303 Park Avenue South #1037, New York, NY

18   10010. Kirby is informed and believes and thereon alleges that the New York Secretary of State

19   does not have a listing for either purported company. The spams themselves refer to “Online

20   EDU LLC” in Trinity, Florida, but Kirby is informed and believes and thereon alleges that the

21   Florida Department of State’s website has no such entity on file.

22   23.      Kirby does not know the true names or legal capacities of the Counter-Defendants sued

23   herein as Does 1 through 100, inclusive, and therefore sue these Counter-Defendants under such

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                                        KIRBY’S COUNTER-CLAIMS
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 1   fictitious names. Kirby will amend this Counter-Claim to allege their true names and capacities

 2   when ascertained. Kirby is informed and believes and thereon alleges that each fictitiously

 3   named Counter-Defendant is responsible in some manner for the matters alleged herein, and that

 4   Kirby’s injuries and damages alleged herein were proximately caused by their conduct.

 5

 6                                                IV. FACTS

 7   24.    Kirby is informed and believes and thereon alleges that at least some of the Spire Vision

 8   Counter-Defendants hold themselves out as an advertising network, connecting advertisers (such

 9   as Davison) with third party publishers or affiliates. See Spire Vision Homepage,

10   http://www.spirevision.com (last visited Mar. 21, 2012) (referring to CommissionWizard.com as

11   its affiliate network). However, Kirby is informed and believes and thereon alleges that Spire

12   Vision actually sent the spams at issue itself, but took extraordinary steps to hide its identity as it

13   did so. Spire Vision did not identify itself as the sender in the bodies of any of the spams at

14   issue. Whois queries for most of the sending domain names indicate that the domain names are

15   registered to “SilverInteractive” (a non-existent company claiming an address at a branch of The

16   UPS Store in Milford, Connecticut) or “OpportunityCentral” (a non-existent company claiming

17   an address at a branch of The UPS Store in Rockledge, Florida). Kirby is informed and believes

18   and thereon alleges that Spire Vision has no physical presence in Connecticut or Florida, and that

19   Spire Vision engaged in this scheme to prevent anyone from identifying Spire Vision as the true

20   source of the spams by querying the publicly accessible Whois database. Thus, the domain

21   names’ registration information is not traceable to Spire Vision.

22   25.    The emails at issue in this Counter-Claim were all “commercial email advertisements”

23   because they advertised and promoted the lease, sale, rental, gift offer, or other disposition of any

24   property, goods, services, or extension of credit. See Cal. Bus. & Prof. Code § 17529.1(c).
                                                       12
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 1   26.    The emails at issue in this Counter-Claim were all “unsolicited commercial email

 2   advertisements” because Kirby never gave “direct consent” to any Counter-Defendant to send

 3   her commercial email, and Kirby never had a “preexisting or current business relationship” with

 4   any Counter-Defendant. See Cal. Bus. & Prof. Code § 17529.1(o), (d), (l). Plaintiffs admit that

 5   they acquire email addresses from unnamed third party “affiliates,” Corrected FAC at ¶ 16, but

 6   even if Kirby gave permission to some other website to send her commercial email, that would

 7   only constitute “direct consent” for those websites’ owners, and not to Plaintiffs, to send her

 8   commercial email. See Balsam v. Trancos Inc. et al, 203 Cal. App. 4th 1083, 1099 (1st Dist.

 9   2012) (rejecting Trancos’ unproven claims that Balsam had given “direct consent” to ValueClick

10   to send him commercial email, and that translated into “direct consent” for Trancos to send him

11   commercial email: “By Trancos’s own account, those recipients have not given any direct

12   consent to receive e-mails from Trancos or its advertisers. The consent Trancos claims to have

13   by virtue of recipients assertedly agreeing to receive e-mails from ValueClick and its partners is

14   highly attenuated at best.”)

15   27.    Kirby sues Spire Vision and other Counter-Defendants for sending and advertising in and

16   16 spams.

17   28.    The domain names hyperlinked and advertised in the spams are actually owned and

18   operated by Spire Vision. A person who clicks on a link in the spam causes his or her computer

19   to launch an Internet browser, which redirects through PromotionsTargeted.com, also owned and

20   operated by Spire Vision, and eventually ends up at the final “destination” website, such as

21   Davison.com, which is owned and operated by another advertiser, such as Davison Design &

22   Development Inc.

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 1   A. Spams Advertising Spire Vision’s Own “Destination Websites” (10)

 2   29.    Kirby received spams advertising Spire Vision/Digital Publishing Corp.’s website

 3   FindMBAPrograms.com on August 13, 2011 with the From Name “BecomeAnEventPlanner,”

 4   and on August 22, 2011 with the From Name “Event Planner Training.” Both From Names are

 5   misleading as to who the spams are actually from. A reasonable recipient could believe that

 6   “BecomeAnEvent Planner” and “Event Planner Training” refer to any of hundreds if not

 7   thousands of websites offering event planner training, such as careers-in-event-planning.com or

 8   QCEventPlanning. com. The From Names are further misleading because the destination

 9   website is FindMBAPrograms.com and a person does not need an MBA (Masters of Business

10   Administration) degree to become an event planner.

11   30.    Kirby received spams advertising Spire Vision/Digital Publishing Corp.’s website

12   FindAccountingPrograms.com on August 24, 2011 with the From Name “Accounting Programs”

13   and on August 25, 2011 with the From Name “Become an Accountant.” Both From Names are

14   misleading as to who the spams are actually from. A reasonable recipient could believe that

15   “Accounting Programs” and “Become an Accountant” refer to any of hundreds if not thousands

16   of sources that can provide training to become an accountant, including but not limited to

17   Phoenix.edu or AccountingCoach.com.

18   31.    Kirby received spams advertising Spire Vision/Ward Media Inc.’s website

19   ElementaryTeaching.org on August 25, 2011 with the From Name “Become a Teacher” and on

20   August 25, 2011 with the From Name “BeAnElementaryTeacher.” Both From Names are

21   misleading as to who the spams are actually from. A reasonable recipient could believe that

22   “Become a Teacher” and “BeAnElementaryTeacher” refer to any of hundreds if not thousands of

23

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 1   entities that can provide training to become an elementary school teacher, including but not

 2   limited to Phoenix.edu or MontessoriTraining.net.

 3   32.    Kirby received spams advertising Spire Vision/On Demand Research LLC’s website

 4   OnDemandResearch.com on August 22 and August 24, 2011 with the From Name “CheckCard

 5   Survey” and the Subject Line “Complete our job survey for a $500 Free Check Card,” and on

 6   August 23, 2011 with the From Name “CheckCard Survey” and the Subject Line “Take Our

 7   Survey Roger Kirby for a Free $500 Card.” The From Names are misleading as to who the

 8   spams are actually from; “CheckCard Survey” does not identify anyone. Kirby is informed and

 9   believes and thereon alleges that the Subject Lines are further misleading because the $500 check

10   card is not free; a person has to also “complete sponsor offers” which Kirby is informed and

11   believes and thereon alleges involves spending money and/or signing up for products or services.

12   33.    Kirby received a spam advertising Spire Vision/On Demand Research LLC’s website

13   OnDemandResearch.com on August 24, 2011 with the From Name “OnDemand Survey” and the

14   Subject Line “Receive a Free $20 Gas Card Roger Kirby. Take this Survey.” The From Name is

15   misleading as to who the spam is actually from; “OnDemand Survey” does not identify anyone.

16   Kirby is informed and believes and thereon alleges that the Subject Line is further misleading

17   because the $20 gas card is not free; a person has to also “complete participation requirements”

18   which Kirby is informed and believes and thereon alleges involves spending money and/or

19   signing up for products or services.

20   B. Spam Advertising Spire Vision and Consumer Injury Advocates (1)

21   34.    Kirby received a spam advertising Spire Vision and Consumer Injury Advocates’ website

22   ConsumerInjuryAlert.com on August 18, 2011 with the From Name “Zoloft Attorney.” The

23   From Name is misleading as to who the spam is actually from. The From Name could just as

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 1   easily refer to any of hundreds if not thousands of attorneys litigating Zoloft-related birth defects.

 2   However, Kirby is informed and believes and thereon alleges that the email is not from any

 3   attorney at all, as the ConsumerInjuryAlert.com website admitted, buried in the fine print of the

 4   Disclosure statement on the website. The From Name and the Subject Line (“Popular

 5   antidepressant ZOLOFT settlements owed”) are both misleading because the real purpose of the

 6   ConsumerInjuryAlert.com (and ConsumerInjuryAdvocates.com) websites appears to be to gather

 7   consumers’ personal information and sell it to spammers.

 8   C. Spam Advertising Spire Vision and Davison Design & Development Inc. (1)

 9   35.    Kirby received a spam advertising Spire Vision and Davison on August 23, 2011 with the

10   From Name “Roger Kirby DavisonDesigns” and the Subject Line “Invent and We will develop

11   it.” Kirby’s first name is Kristina, not Roger, but even if it were Roger, the From Name would

12   be misleading because the spams was not from Kirby. The Subject Line is also misleading,

13   because Davison has no demonstrated ability to successfully develop products and bring them to

14   market.

15   D. Spam Advertising Spire Vision and The Great American Photo Contest LLC and/or
        What If Holdings LLC (1)
16
     36.    Kirby received a spam advertising Spire Vision and The Great American Photo Contest
17
     LLC and/or What If Holdings LLC’s website GreatAmericanPhotoContests.com on August 13,
18
     2011 with the From Name “Pet Contest.” The From Name is misleading as to who the spams are
19
     actually from. A reasonable recipient could believe that “Pet Contest” refers to any of hundreds
20
     if not thousands of websites related to pet contests, including but not limited to
21
     CutestPetContest.com or PetCentric.com.
22

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 1   E. Spams Advertising Spire Vision and KeyWebJobs (3)

 2   37.       Kirby received spams advertising Spire Vision and KeyWebJobs’ website

 3   KeyWebJobs.com on August 14, August 22, and August 23, 2011 with the From Name “Scott

 4   K.May.” The From Name does not identify Spire Vision or KeyWebJobs.com, and in fact the

 5   body of each spam identifies the sender as “Scott Hunter.” The Subject Lines “Stay Home and

 6   Make 900 Today,” “Stay Home and Earn 1100 Each Day,” and “4700 Each Month with Online

 7   Work” are false and contain misrepresented and are misleading because Kirby is informed and

 8   believes and thereon alleges that KeyWebJobs cannot actually provide jobs that pay the stated

 9   amounts. The fine print of the terms and conditions admit that there are no guarantees that

10   anyone will earn any money; moreover, KeyWebJobs.com requires that its users purchase the

11   “product” for $49.95 and every 32 days thereafter, KeyWebJobs will bill $14.95 for monthly use.

12

13                                      FIRST CAUSE OF ACTION

14               [Violations of California Restrictions on Unsolicited Commercial Email,
                           California Business and Professions Code § 17529.5]
15                                   (Against All Counter-Defendants)

16   38.       Kirby hereby incorporates each and every foregoing paragraph as though set forth in full

17   herein.

18   39.       Counter-Defendants advertised in and sent 16 unlawful spams to Kirby’s California email

19   address, that are at issue in this Action.

20   40.       Kirby received the spams at issue within one year prior to filing her Counter-Claims.

21   A. Counter-Defendants Violated Cal. Bus. & Prof. Code § 17529.5(a)(2) – False and
        Misrepresented Header Information
22
     41.       Cal. Business & Professions Code § 17529.5(a)(2) prohibits falsified, misrepresented, or
23
     forged information in or accompanying email headers.
24
                                                       17
                                         KIRBY’S COUNTER-CLAIMS
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 1          1. Misrepresented Information in From Names

 2   42.    The From Name in an email is supposed to identify who the email is from; it is not

 3   supposed to be an advertising message.

 4   43.    Earlier this year, the Court of Appeal of the First District affirmed in all respects the trial

 5   court’s statement of decision in Balsam, 203 Cal. App. 4th at 1088. The Balsam court confirmed

 6   that generic From Names like the ones at issue violate the statute, ruling that generic sender

 7   names that “do not exist or are otherwise misrepresented when they do not represent any real

 8   company and cannot be readily traced back to the true owner/sender,” and affirming the trial

 9   court’s award of $1,000 liquidated damages per spam for the spams with From Names Paid

10   Survey, Your Business, Christian Dating, Your Promotion, Bank Wire Transfer Available,

11   Dating Generic, and Join Elite, but not eHarmony. Id. at 1093.

12   44.    All of the From Names of the spams at issue misrepresented who was advertising in the

13   spams. More specifically:

14   45.    The From Names “BecomeAnEventPlanner,” “Event Planner Training,” “Accounting

15   Programs,” “Become an Accountant,” “Become a Teacher,” “BeAnElementaryTeacher,”

16   “CheckCard Survey” (2), “CheckCard Survey,” and “OnDemand Survey” in the 10 spams

17   advertising Spire Vision’s own “destination websites” all misrepresented who the advertiser was.

18   46.    The From Name “ZoloftAttorney” in the Consumer Injury Advocates spam is false and

19   misrepresents who the spam is from because – notwithstanding the statement in the body of the

20   email that Kirby “received this notice as a potential client of ConsumerInjuryAlert” – the spam is

21   not from an attorney to a potential client, as the ConsumerInjuryAlert.com website admitted,

22   buried in the fine print of the Disclosure statement on the website. The From Name is further

23   misleading because Kirby is informed and believes and thereon alleges that helping injured

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 1   consumers find attorneys to help them was not the real purpose of ConsumerInjuryAlert.com (or

 2   ConsumerInjuryAdvocates.com). Although the home page on both websites nobly states that

 3   “Our mission at Consumer Injury Alert is to connect each of our visitors with the most effective

 4   ethical representation possible, and to preserve and promote the civil justice system,” Kirby is

 5   informed and believes and thereon alleges that this is a false claim. On or about March 21, 2012

 6   – three weeks before Kirby filed this Answer – Kirby’s attorney Daniel Balsam submitted a

 7   request (as a consumer) to ConsumerInjuryAdvocates.com to help him with an asbestos claim,

 8   and Balsam never received a response. Also, Kirby’s attorney Timothy Walton submitted a

 9   request (as an attorney) to ConsumerInjuryAdvocates.com to connect him with clients who

10   requested help with asbestos claims, and Walton similarly never received a response. Kirby is

11   informed and believes and thereon alleges that if Consumer Injury Advocates’ real mission were

12   to connect injured consumers with attorneys, Balsam and/or Walton would have received some

13   kind of response after submitting requests. The true purpose of the websites appears to be

14   collecting consumers’ personal information, such as email addresses, to sell to advertisers.

15   Indeed, the Privacy Policy page on the ConsumerInjuryAlert.com website stated (when the

16   website was live) that

17                  The personally identifiable information that Users voluntarily provide to
                    Consumer Injury Alert may be used . . . to present You with promotions,
18                  advertisement, and opportunities which may be of interest to You via direct mail,
                    email, phone, text, or sms. . . . and/for [sic] marketing and business purposes.
19
     The Disclaimer page on the ConsumerInjuryAlert.com website similarly stated that
20
                    You agree that by voluntarily providing us with Your personal information, You
21                  are [] requesting that Consumer Injury Alert distribute your information to its
                    Affiliates, and You expressly consent and request to be contacted by Consumer
22                  Injury Alert, its employees, representatives, agents, Affiliates, and third party
                    contracted vendors with promotions and offers, even if the entered telephone
23                  number is currently on a federal, state, or wireless Do Not Call list.

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 1   47.    The From Name “Roger Kirby DavisonDesigns” in the Davison spam is false and

 2   misrepresents who the spam is from. Kirby is informed and believes and thereon alleges that it

 3   was not from “Roger” Kirby.

 4   48.    The From Name “Pet Contest” in the Great American Photo Contest LLC and/or What if

 5   Holdings LLC spam misrepresents who the spam is from. While the text may be descriptive, it is

 6   misleading because it does not distinguish GreatAmericanPhotoContests.com from similar

 7   websites.

 8   49.    The From Name “Scott K.May” in the three KeyWebJobs spams misrepresents the fact

 9   that the body of each spam names “Scott Hunter.”

10          2. Misrepresented Information in Domain Name Registrations

11   50.    Kirby is informed and believes and thereon alleges that six of the nine domain names

12   Spire Vision used to send and advertise in 13 of the 16 spams at issue did not facially identify

13   and are not traceable to any of the Spire Vision companies. More specifically:

14   51.    Kirby is informed and believes and thereon alleges that five of the nine domain names

15   Spire Vision used to send and advertise in 12 of the 16 spams at issue – bambambros.com,

16   rockhallsolutions.com, rogersexpressmail.com, runapex.com, and ryemultimedia.com – were

17   registered to “SilverInteractive,” which does not identify any Spire Vision company and which –

18   like “OpportunityCentral” – Kirby is informed and believes and thereon alleges is a nonexistent

19   company, despite the fact that Spire Vision’s websites refer to “SilverInteractive LLC.” The

20   unknown business entity SilverInteractive claims its address to be a box at a branch of The UPS

21   Store in Milford, Connecticut – a state in which Kirby is informed and believes and thereon

22   alleges that Spire Vision has no physical presence. Additionally, the Connecticut Secretary of

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 1   State’s website has no listing for “SilverInteractive LLC.” Thus, the domain name registrations

 2   are not traceable to any Spire Vision company.

 3   52.    Kirby is informed and believes and thereon alleges that one of the nine domain names

 4   Spire Vision used to send and advertise in one of the 16 spams at issue – monthlyupdates.net –

 5   was registered to “OpportunityCentral,” which does not identify any Spire Vision company and

 6   which – like “SilverInteractive” – Kirby is informed and believes and thereon alleges is a

 7   nonexistent company, despite the fact that Spire Vision’s websites refers to “OpportunityCentral

 8   LLC” and “Opportunity-Central.net LLC.” The unknown business entity OpportunityCentral

 9   claims its address to be a box at a branch of The UPS Store in Rockledge, Florida – a state in

10   which Kirby is informed and believes and thereon alleges that Spire Vision has no physical

11   presence. Additionally, the Florida Secretary of State’s website has no listing for

12   “OpportunityCentral.” Thus, the domain name registration is not traceable to any Spire Vision

13   company.

14   53.    Kirby is informed and believes and thereon alleges that only three of the nine domain

15   names Spire Vision used to send and advertise in three of the 16 spams at issue – lifenew.net,

16   myminutes.com, and offerseekers.com – were actually registered to a real company, ServeClicks

17   LLC, claiming an address in Las Vegas, Nevada.

18   54.    In short, Kirby is informed and believes and thereon alleges that Spire Vision knowingly

19   and willfully registered six of the nine domain names it used to send and advertise in 13 of the 16

20   spams at issue using false and inaccurate names, and boxes at commercial mail receiving

21   agencies in states in which it has no physical presence, so that the domain names were not

22   traceable to Spire Vision and materially misrepresented the source of the spams.

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 1   55.    Because six of the nine domain names Spire Vision used to send and advertise in 13 of

 2   the 16 spams at issue neither identify Spire Vision on their face nor are readily traceable to Spire

 3   Vision, the email headers contain falsified and misrepresented information in violation of Cal.

 4   Business & Professions Code § 17529.5.

 5                    [W]here, as in this case, the commercial e-mailer intentionally uses . . . domain
                      names in its headers that neither disclose the true sender’s identity on their face
 6                    nor permit the recipient to readily identify the sender, . . . such header information
                      is deceptive and does constitute a falsification or misrepresentation of the sender's
 7                    identity. . . .

 8                    Here, the domain names were not traceable to the actual sender. The header
                      information is “falsified” or “misrepresented” because Trancos deliberately
 9                    created it to prevent the recipient from identifying who actually sent the message.
                      . . . . an e-mail with a made-up and untraceable domain name affirmatively and
10                    falsely represents the sender has no connection to Trancos.

11                    Allowing commercial e-mailers like Trancos to conceal themselves behind
                      untraceable domain names amplifies the likelihood of Internet fraud and abuse--
12                    the very evils for which the Legislature found it necessary to regulate such e-
                      mails when it passed the Anti-spam Law.
13
                      We therefore hold, consistent with the trial court’s ruling, that header information
14                    in a commercial e-mail is falsified or misrepresented for purposes of section
                      17529.5(a)(2) when it uses a sender domain name that neither identifies the actual
15                    sender on its face nor is readily traceable to the sender using a publicly available
                      online database such as WHOIS.
16
     Balsam, 203 Cal. App. 4th at 1097-1101 (emphasis in original).
17
            3. Misrepresented Information in Subject Lines
18
     56.    The Subject Lines (part of the headers) of the four Spire Vision/On Demand Research
19
     LLC spams misrepresent that the $500 check cards and $20 gas cards are free just by taking a
20
     survey, because Kirby is informed and believes and thereon alleges that a person also has to
21
     “complete participation requirements,” which involves spending money and/or signing up for
22
     products or services. The Subject Lines make no reference whatsoever to any “participation
23
     requirements.”
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 1   57.    The Subject Line (part of the headers) of the Consumer Injury Advocates spam “Popular

 2   antidepressant ZOLOFT settlements owed” is false and misrepresents that ConsumerInjury

 3   Alert.com can help injured consumers get Zoloft-related settlements they are owed. Kirby is

 4   informed and believes and thereon alleges that the Subject Line misrepresents the true purpose of

 5   the email and the true purpose of ConsumerInjuryAlert.com (and ConsumerInjuryAdvocates.com,

 6   the successor website). Although the home page on both websites nobly states that “Our mission

 7   at Consumer Injury Alert is to connect each of our visitors with the most effective ethical

 8   representation possible, and to preserve and promote the civil justice system,” Kirby is informed

 9   and believes and thereon alleges that that is a false claim. On or about March 21, 2012 – three

10   weeks before Kirby filed this Answer – Kirby’s attorney Daniel Balsam submitted a request (as a

11   consumer) to ConsumerInjuryAdvocates.com to help him with an asbestos claim, and Balsam

12   never received a response. Also, Kirby’s attorney Timothy Walton submitted a request (as an

13   attorney) to ConsumerInjuryAdvocates.com to connect him with clients who requested help with

14   asbestos claims, and Walton similarly never received a response. Kirby is informed and believes

15   and thereon alleges that if Consumer Injury Advocates’ real mission were to connect injured

16   consumers with attorneys, Balsam and/or Walton would have received some kind of response

17   after submitting requests. The true purpose of the websites appears to be collecting consumers’

18   personal information, such as email addresses, to sell to advertisers. Indeed, the Privacy Policy

19   page on the ConsumerInjuryAlert.com website stated (when the website was live) that

20                  The personally identifiable information that Users voluntarily provide to
                    Consumer Injury Alert may be used . . . to present You with promotions,
21                  advertisement, and opportunities which may be of interest to You via direct mail,
                    email, phone, text, or sms. . . . and/for [sic] marketing and business purposes.
22
     The Disclaimer page on the ConsumerInjuryAlert.com website similarly stated that
23
                    You agree that by voluntarily providing us with Your personal information, You
24                  are [] requesting that Consumer Injury Alert distribute your information to its
                                                     23
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 1                  Affiliates, and You expressly consent and request to be contacted by Consumer
                    Injury Alert, its employees, representatives, agents, Affiliates, and third party
 2                  contracted vendors with promotions and offers, even if the entered telephone
                    number is currently on a federal, state, or wireless Do Not Call list.
 3
     58.    The Subject Line (part of the headers) of the Davison Design & Development Inc. spam
 4
     “Invent and We will develop it!” contains false and misrepresented information because Davison
 5
     has not demonstrated success at developing inventions and bringing new products to market.
 6
     The Federal Trade Commission sued Davison & Associates Inc. (Davison’s predecessor
 7
     company) and its principals for fraudulent business practices related to invention development.
 8
     Davison admits on its website, on a page titled “Affirmative Disclosure Statement” that can only
 9
     be reached via a small, light-blue-on-dark-blue link at the bottom of the homepage, that only 14
10
     of 48,871 clients in the five years ending January 19, 2011, and 14 of 54,191 clients in the five
11
     years ending December 23, 2011, realized a net profit from Davison’s work. Thus, Kirby is
12
     informed and believes and thereon alleges that historically, 99.97% of would-be inventors lost
13
     money working with Davison, and every new inventor-client in 2011, when Davison advertised
14
     in the emails at issue, lost money working with Davison. Davison also discloses that only
15
     0.001% of its income came from royalties on licenses of consumers’ products, which means that
16
     99.999% of Davison’s income comes from up-front flat fees paid by would-be inventors. Kirby
17
     is informed and believes and thereon alleges that every “Davison licensing deal” has a royalty
18
     component, and since just 0.001% of its income comes from royalties, Davison’s disclosures
19
     indicate that it has no demonstrated ability to actually successfully develop products and bring
20
     them to market successfully. Moreover, Davison admits, in the fine print in its spams and on its
21
     website, that it “does not perform analysis of the potential feasibility, marketability, patentability
22
     or profitability of ideas submitted to it.” Kirby is informed and believes and thereon alleges that
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                                                       24
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 1   these are essential elements of new product development, so Davison does not do new product

 2   development.

 3                   Product Development definition: “The overall process of strategy, organization,
                     concept generation, product and marketing plan creation and evaluation, and
 4                   commercialization of a new product.”

 5   Entrepreneur, http://www.entrepreneur.com/encyclopedia/term/82414.html (last visited Dec. 29,

 6   2011). See also Glen L. Urban & John R. Hauser, DESIGN AND MARKETING OF NEW PRODUCTS

 7   (Prentice Hall 1993).

 8                   “The text begins with a discussion of innovation strategy and is the [sic] followed
                     by five sections each representing a major phase in the new-product-development
 9                   process: 1) Opportunity Identification, 2) Designing New Products, 3) Testing
                     Products, 4) Introduction and 5) Managing the Life Cycle.” (p. xxvi-xxvii)
10
                     [Within step 1:] “After an organization has adopted a proactive approach to new-
11                   product development, the first step in implementing it is to identify areas of
                     opportunity. This effort is divided into two steps. In the first step, markets and
12                   their associated technologies are defined and opportunities within them are
                     assessed.” (p. 78)
13
                     [Within step 2:] “It is important to remember that in developing new products,
14                   market research is conducted to support decision making and to create knowledge,
                     intelligence, and wisdom.” (p. 179)
15
     In short, Davison boldly advertises that it can develop new products, and then disclaims it in the
16
     fine print. The Ninth Circuit recently held that even truthful fine print cannot correct misleading
17
     prominent initial representations. Williams v. Gerber Products Co., 552 F.3d. 934 (9th Cir.
18
     2008).
19
     59.      Despite the rosy claims of the spams and the KeyWebJobs.com website, the Subject Lines
20
     “Stay Home and Make 900 Today,” “Stay Home and Earn 1100 Each Day,” and “4700 Each
21
     Month with Online Work” are false and contain misrepresented information. The fine print of
22
     the terms and conditions admit that there are no guarantees that anyone will earn any money;
23

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                                                     25
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 1   moreover, KeyWebJobs.com requires that its users purchase the “product” for $49.95 and every

 2   32 days thereafter, KeyWebJobs will bill $14.95 for monthly use.

 3   B. Counter-Defendants Violated Cal. Bus. & Prof. Code § 17529.5(a)(3) – Misleading
        Subject Lines
 4
     60.    Cal. Bus. & Prof. Code § 17529.5(a)(3) prohibits Subject Lines likely to mislead a
 5
     reasonable recipient.
 6
     61.    The Subject Lines of the four Spire Vision/On Demand Research LLC spams “Complete
 7
     our job survey for a $500 Free Check Card” (2), “Take Our Survey Roger Kirby for a Free $500
 8
     Card,” and “Receive a Free $20 Gas Card Roger Kirby. Take this Survey” are likely to mislead a
 9
     reasonable recipient because Kirby is informed and believes and thereon alleges that the $500
10
     check cards and $20 gas cards are not free just by taking a survey; a person also has to “complete
11
     participation requirements,” which involves spending money and/or signing up for products or
12
     services. Moreover, the Subject Lines make no reference whatsoever to any “participation
13
     requirements.”
14
     62.    The Subject Line (part of the headers) of the Consumer Injury Advocates spam “Popular
15
     antidepressant ZOLOFT settlements owed” is likely to mislead a reasonable consumer into
16
     believing that ConsumerInjuryAlert.com can help injured consumers get Zoloft-related
17
     settlements they are owed. Kirby is informed and believes and thereon alleges that the Subject
18
     Line misrepresents the true purpose of the email and the true purpose of ConsumerInjuryAlert.
19
     com (and ConsumerInjuryAdvocates.com, the successor website). Although the home page on
20
     both websites nobly states that “Our mission at Consumer Injury Alert is to connect each of our
21
     visitors with the most effective ethical representation possible, and to preserve and promote the
22
     civil justice system,” Kirby is informed and believes and thereon alleges that that is a false claim.
23
     On or about March 21, 2012 – three weeks before Kirby filed this Answer – Kirby’s attorney
24
                                                      26
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 1   Daniel Balsam submitted a request (as a consumer) to ConsumerInjuryAdvocates.com to help

 2   him with an asbestos claim, and Balsam never received a response. Also, Kirby’s attorney

 3   Timothy Walton submitted a request (as an attorney) to ConsumerInjuryAdvocates.com to

 4   connect him with clients who requested help with asbestos claims, and Walton similarly never

 5   received a response. Kirby is informed and believes and thereon alleges that if Consumer Injury

 6   Advocates’ real mission were to connect injured consumers with attorneys, Balsam and/or

 7   Walton would have received some kind of response after submitting requests. The true purpose

 8   of the websites appears to be collecting consumers’ personal information, such as email

 9   addresses, to sell to advertisers. Indeed, the Privacy Policy page on the ConsumerInjuryAlert.

10   com website stated (when the website was live) that

11                  The personally identifiable information that Users voluntarily provide to
                    Consumer Injury Alert may be used . . . to present You with promotions,
12                  advertisement, and opportunities which may be of interest to You via direct mail,
                    email, phone, text, or sms. . . . and/for [sic] marketing and business purposes.
13
     The Disclaimer page on the ConsumerInjuryAlert.com website similarly stated that
14
                    You agree that by voluntarily providing us with Your personal information, You
15                  are [] requesting that Consumer Injury Alert distribute your information to its
                    Affiliates, and You expressly consent and request to be contacted by Consumer
16                  Injury Alert, its employees, representatives, agents, Affiliates, and third party
                    contracted vendors with promotions and offers, even if the entered telephone
17                  number is currently on a federal, state, or wireless Do Not Call list.

18   63.    The Subject Line of the Davison spam “Invent and We will develop it!” is likely to

19   mislead a reasonable recipient into believing that Davison actually has the ability to develop

20   inventions and bring new products to market, when it has no ability to do so, or at any rate, not

21   successfully. The Federal Trade Commission sued Davison & Associates Inc. (Davison’s

22   predecessor company) and its principals for fraudulent business practices related to invention

23   development. Davison admits on its website, on a page titled “Affirmative Disclosure

24   Statement” that can only be reached via a small, light-blue-on-dark-blue link at the bottom of the
                                                     27
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 1   homepage, that only 14 of 48,871 clients in the five years ending January 19, 2011, and 14 of

 2   54,191 clients in the five years ending December 23, 2011, realized a net profit from Davison’s

 3   work. Thus, Kirby is informed and believes and thereon alleges that historically, 99.97% of

 4   would-be inventors lost money working with Davison, and every new inventor-client in 2011,

 5   when Davison advertised in the emails at issue, lost money working with Davison. Davison also

 6   discloses that only 0.001% of its income came from royalties on licenses of consumers’ products,

 7   which means that 99.999% of Davison’s income comes from up-front flat fees paid by would-be

 8   inventors. Kirby is informed and believes and thereon alleges that every “Davison licensing

 9   deal” has a royalty component, and since just 0.001% of its income comes from royalties,

10   Davison’s disclosures indicate that it has no demonstrated ability to actually successfully develop

11   products and bring them to market successfully. Moreover, Davison admits, in the fine print in

12   its spams and on its website, that it “does not perform analysis of the potential feasibility,

13   marketability, patentability or profitability of ideas submitted to it.” Kirby is informed and

14   believes and thereon alleges that these are essential elements of new product development, so

15   Davison does not do new product development.

16                  Product Development definition: “The overall process of strategy, organization,
                    concept generation, product and marketing plan creation and evaluation, and
17                  commercialization of a new product.”

18   Entrepreneur, http://www.entrepreneur.com/encyclopedia/term/82414.html (last visited Dec. 29,

19   2011). See also Glen L. Urban & John R. Hauser, DESIGN AND MARKETING OF NEW PRODUCTS

20   (Prentice Hall 1993).

21                  “The text begins with a discussion of innovation strategy and is the [sic] followed
                    by five sections each representing a major phase in the new-product-development
22                  process: 1) Opportunity Identification, 2) Designing New Products, 3) Testing
                    Products, 4) Introduction and 5) Managing the Life Cycle.” (p. xxvi-xxvii)
23
                    [Within step 1:] “After an organization has adopted a proactive approach to new-
24                  product development, the first step in implementing it is to identify areas of
                                                      28
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 1                  opportunity. This effort is divided into two steps. In the first step, markets and
                    their associated technologies are defined and opportunities within them are
 2                  assessed.” (p. 78)

 3                  [Within step 2:] “It is important to remember that in developing new products,
                    market research is conducted to support decision making and to create knowledge,
 4                  intelligence, and wisdom.” (p. 179)

 5   In short, Davison boldly advertises that it can develop new products, and then disclaims it in the

 6   fine print. The Ninth Circuit recently held that even truthful fine print cannot correct misleading

 7   prominent initial representations. Williams v. Gerber Products Co., 552 F.3d. 934 (9th Cir.

 8   2008). Thus, a consumer who reasonably believed that “Invent and we will develop it” means

 9   that Davison can successfully develop inventions would be sorely misled.

10   64.    Despite the rosy claims of the spams and the KeyWebJobs.com website, the Subject Lines

11   “Stay Home and Make 900 Today,” “Stay Home and Earn 1100 Each Day,” and “4700 Each

12   Month with Online Work” are likely to mislead a reasonable recipient as to the nature and

13   benefits of KeyWebJobs.com. The fine print of the terms and conditions admit that there are no

14   guarantees that anyone will earn any money; moreover, KeyWebJobs.com requires that its users

15   purchase the “product” for $49.95 and every 32 days thereafter, KeyWebJobs.com will bill

16   $14.95 for monthly use.

17   C. Kirby Suffered Damages; Recipients of Unlawful Spam Have Standing to Sue Under
        Cal. Bus. & Prof. Code § 17529.5 and Recover $1,000 Per Spam Liquidated Damages
18
     65.    Kirby suffered damages as a result of Counter-Defendants’ wrongful conduct. See Cal.
19
     Bus. & Prof. Code § 17529(d), (e), (g), (h).
20
     66.    Recipients of unlawful spam have standing to sue. See Cal. Bus. & Prof. Code
21
     § 17529.5(b)(1)(A)(iii). Nothing in the statute requires that a recipient click and purchase the
22
     goods or services advertised in the spam.
23

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 1   67.    The California Legislature set liquidated damages at One Thousand Dollars ($1,000) per

 2   email in violation of the statute. See Cal. Bus. & Prof. Code § 17529.5(b)(1)(B)(ii).

 3   68.    For each spam, the Spire Vision Counter-Defendant and the other advertiser Counter-

 4   Defendant are jointly and severally liable for damages for the emails in which they advertised.

 5   69.    Cal. Business & Professions Code § 17529.5 prohibits false and deceptive spam, and thus

 6   falls within the express exception-to-preemption set forth in the federal CAN-SPAM Act at 15

 7   U.S.C. § 7707(b)(1). The exception to preemption is based on falsity, not fraud, and Kirby is not

 8   required to allege or prove the traditional elements of fraud. See Hypertouch Inc. v. ValueClick

 9   Inc., 192 Cal. App. 4th 805, 825 (2d Dist. 2011), and Balsam, 203 Cal. App. 4th at 1102 (“We

10   find the reasoning of Hypertouch persuasive on this [preemption] issue, and adopt it here”).

11   D. Counter-Defendants are Not Entitled to a Reduction in Statutory Damages

12   70.    Kirby is informed and believes and thereon alleges that Counter-Defendants have not

13   established and implemented, with due care, practices and procedures reasonably designed to

14   effectively prevent unsolicited commercial e-mail advertisements that are in violation of Cal.

15   Business & Professions Code § 17529.5.

16   71.    Indeed, the Spire Vision Counter-Defendants admit that they acquire email addresses

17   from other sources – their “affiliates.” See Corrected First Amended Complaint (Docket #30) at

18   ¶ 16. Therefore, there is no “direct consent,” as defined by Cal. Business & Professions Code

19   § 17529.1(d), which means that Counter-Defendants knowingly and deliberately advertised in

20   and sent unsolicited commercial email, a/k/a “spam.”

21   72.    Moreover, From Names and Subject Lines do not write themselves; the From Names and

22   Subject Lines in the spams at issue were not “clerical errors.”

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 1   73.     Additionally, Spire Vision’s actions of registering its Internet domain names to

 2   nonexistent companies using boxes at branches of The UPS Store in states in which it has no

 3   physical presence indicates willful decisions to create materially false and misrepresented

 4   information in and accompanying the email headers, in violation of the statute.

 5   74.     The Counter-Defendants other than the Spire Vision Counter-Defendants are not entitled

 6   to a reduction in damages because they are strictly liable for the actions of the Spire Vision

 7   Counter-Defendants, who acted as their agents. Hypertouch, 192 Cal. App. 4th at 821, 829-30.

 8   E. Kirby is Entitled to Attorneys’ Fees

 9   75.     Kirby seeks reimbursement of attorneys’ fees and costs as authorized by Cal. Business &

10   Professions Code § 17529.5(b)(1)(C).

11   76.     The attorneys’ fees provision for a prevailing plaintiff is typical of consumer protection

12   statutes and supported by Cal. Code of Civil Procedure § 1021.5. By prosecuting this action,

13   Kirby expects to enforce an important right affecting the public interest and thereby confer a

14   significant benefit on the general public or a large class of persons. The necessity and financial

15   burden of private enforcement is such as to make the award appropriate, and the attorneys’ fees

16   should not, in the interest of justice, be paid out of the recovery of damages.

17

18   WHEREFORE, Kirby prays for judgment against Counter-Defendants, and each of them, as

19   hereinafter set forth.

20

21                                        PRAYER FOR RELIEF

22   A.      An Order from this Court declaring that Counter-Defendants violated Cal. Business &

23   Professions Code § 17529.5 by advertising in and sending unlawful spams.

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                                                      31
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 1   B.      Liquidated damages against Counter-Defendants in the amount of $16,000 – $1,000 for

 2   each of 16 unlawful spams – as authorized by Cal. Business & Professions Code

 3   § 17529.5(b)(1)(B)(ii), as detailed below:

 4           1.     Jointly and severally against all of the Spire Vision entities: $10,000 for 10
 5                  unlawful spams.
 6
             2.     Jointly and severally against all of the Spire Vision entities and Consumer Injury
 7
                    Advocates: $1,000 for 1 unlawful spam.
 8
             3.     Jointly and severally against all of the Spire Vision entities and Davison Design &
 9
                    Development Inc.: $1,000 for 1 unlawful spam.
10

11           4.     Jointly and severally against all of the Spire Vision entities, The Great American

12                  Photo Contest LLC, and What If Holdings LLC: $1,000 for 1 unlawful spam.

13           5.     Jointly and severally against all of the Spire Vision entities and KeyWebJobs:

14                  $3,000 for 3 unlawful spams.

15
     C.      Punitive damages against the Spire Vision Counter-Defendants as authorized by Cal.
16
     Civil Code § 3294 in an amount to be determined by the Court.
17
     D.      Attorneys’ fees as authorized by Cal. Business & Professions Code § 17529.5(b)(1)(C),
18
     and Cal. Code of Civil Procedure § 1021.5.
19
     E.      Disgorgement of all profits derived from unlawful spams directed to California residents;
20
     monies to be turned over to the Unfair Competition Law Fund and used by the California
21
     Attorney General to support investigations and prosecutions of California’s consumer protection
22
     laws.
23

24   F.      Costs of suit.
                                                     32
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 1   G.       Such other and further relief as the Court deems proper.

 2                                                 THE LAW OFFICES OF DANIEL BALSAM
 3   Dated:          April 11, 2012                /s/ Daniel L. Balsam
                                                   Daniel L. Balsam
 4                                                 Attorneys for Defendant/Counter-Claimant
                                                   Kristina Kirby
 5

 6                                    DEMAND FOR JURY TRIAL
 7   Kirby demands a trial by jury.
 8
                                                   THE LAW OFFICES OF DANIEL BALSAM
 9
     Dated:          April 11, 2012                /s/ Daniel L. Balsam
10                                                 Daniel L. Balsam
                                                   Attorneys for Defendant/Counter-Claimant
11                                                 Kristina Kirby
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